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                                           December 2, 2021

VIA CM/ECF & HAND DELIVERY
The Honorable Laurie Selber Silverstein
United States Bankruptcy Court
for the District of Delaware
824 N. Market Street, 6th Floor
Wilmington, DE 19801

        Re:     Boy Scouts of America and Delaware BSA, LLC
                Bankr. D. Del. Case No. 20-10343 (LSS)
                (D.I. No. 7480)

Dear Judge Silverstein:

        We write on behalf of the AVA Law Group, Inc. to join in the Motion for Protective Order
submitted by Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. (the “Motion”). [D.I. 7480.]
we are in agreement with the relief sought in the Motion and the statements and arguments made
therein. In the interests of efficiency, we will not repeat the arguments made in the Motion; but
we would like to make the Court aware of the following.

        Mr. Kosnoff testified at his deposition that the clients whose correspondence he produced
had waived the attorney-client privilege. A review of his document production suggests that this
testimony is incorrect. Some of the documents disclosed by Mr. Kosnoff are not accompanied by
client waivers of any kind, yet they contain or refer to attorney-client communications. (See
Kosnoff002, Kosnoff021-22, Kosnoff0123-126, Kosnoff127-129, Kosnoff163-164, Kosnoff204-
208, Kosnoff211-213, Kosnoff390).1) A number of clients only waived the privilege in order to
allow Mr. Kosnoff to share their emails with the Court. (Kosnoff061-063, Kosnoff077-078,
Kosnoff095-096, Kosnoff384, Kosnoff385, Kosnoff386.) Instead of limiting that disclosure as
directed by the clients, Mr. Kosnoff produced the documents to opposing counsel.


1
  These numbers refer to Mr. Kosnoff’s document production. Since these documents contain or refer to
attorney-client communications, and we do not wish to waive that privilege, they are not being attached as
exhibits to this letter. Nevertheless, Mr. Kosnoff and anyone else with access to the production can verify
the statements made in this letter.


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         Mr. Kosnoff testified that these documents contain the sum total of his communications
with clients regarding their alleged waivers of privilege. Therefore, they show that Mr. Kosnoff
did not get clients to agree to waive the privilege with respect to all the materials he produced and
that, in some cases, he exceeded the bounds of what the clients agreed to. 2.

       We also want to make it clear to the Court and for the record that neither the undersigned
counsel nor AVA Law Group, Inc. were consulted prior to Mr. Kosnoff’s disclosure of these
materials, and we objected promptly after we became aware that privileged material had been
produced. All responsibility for improper disclosure of attorney-client communications lies solely
with Mr. Kosnoff and his firm.

        Although this is mentioned in the motion, it bears repeating that Mr. Kosnoff made little to
no effort to obtain the informed consent of clients when he sought waivers of the attorney-client
privilege. He did not explain the possible consequences of his actions and he did not consider
other available options he had to get information to the Court. He apparently did not consider that
the documents were protected from disclosure under the work product doctrine and/or the common
interest doctrine. Of course, he also failed to inform his co-counsel, including the AVA Law
Group, Inc., that he intended to make these disclosures.

        Accordingly, we respectfully request that the Motion be granted.



                                                  Respectfully submitted,

                                                  /s/ Joseph Grey

                                                  Joseph Grey (No. 2358)


cc:     All Interested Parties via CM/ECF




2
 It must be assumed for purposes of the Motion and the abbreviated schedule it must be heard on that the
emails Mr. Kosnoff disclosed were all from actual clients. He certainly operated under that assumption as
are others involved in these proceedings. Nevertheless, it is possible that not all of these emails came from
clients. Given everything else that has happened in this case, it is possible that Mr. Kosnoff was “spoofed”
by some of these people, pretending to be his clients when they really were not.
